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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ARETE WEALTH, INC.,

                  Plaintiff,

       v.                                           Case No. 24-CV-2191

JACK R. THACKER,

                  Defendant.


                                    MOTION TO DISMISS

       Defendant Jack R. Thacker moves this Court to dismiss Plaintiff Arete Wealth, Inc.’s

Amended Complaint pursuant to Federal Rules of Civil Procedure 12(b)(6) and 9(b) for failing to

state a claim upon which relief can be granted and failing to plead the circumstances constituting

fraud with particularity. Thacker’s Memorandum in Support of his Motion to Dismiss is being

filed contemporaneously herewith.




 Dated: July 31, 2024                      /s/ Joel M. Hammerman
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